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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 VS.                                             §   CASE NO. 2:12-CR-10(3) JRG-RSP
                                                 §
 ADRIAN DENOVA SANCHEZ                           §

               ORDER ADOPTING MAGISTRATE JUDGE=S REPORT AND
                        FINDING DEFENDANT GUILTY

        On this day, the Court considered the Findings of Fact and Recommendation of United

 States Magistrate Judge Roy S. Payne regarding defendant=s plea of guilty to Count 1 of the

 indictment with a violation of 21 U.S.C. ' 846, Conspiracy to Possess with Intent to Distribute

 and Distribution of Methamphetamine of More than 50 grams. Having conducted a proceeding

 in the form and manner prescribed by FED. R. CRIM P. 11, the Magistrate Judge recommends that

 the Court accept the defendant=s guilty plea. The parties waived their right to file objections to

 the Findings of Fact and Recommendation. The Court is of the opinion that the Findings of Fact

 and Recommendation should be accepted.

        It is accordingly ORDERED that the Findings of Fact and Recommendation of the

 United States Magistrate Judge, filed January 31, 2013, are hereby ADOPTED.

        It is further ORDERED that, pursuant to defendant=s plea agreement, the Court finds

 defendant GUILTY of Count 1 of the indictment in the above-numbered cause.

        So Ordered and Signed on this


        Mar 31, 2013
